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                                                        August 9, 2022
   VIA ECF:
   The Honorable Ann M. Donnelly
   United States District Court Judge
   United States District Court, Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, New York 11201

                              Re:      United States v. Kelly, 19 CR 286 (AMD)

   Dear Your Honor:

           Please accept this letter in response to the government’s motion seeking a nunc
   pro tunc order allowing it to confiscate nearly all funds contained in Mr. Kelly’s inmate
   trust account. On August 4, 2022, a reporter from the Washington Post contacted
   undersigned counsel for comment about an article he was writing concerning the seizure
   of funds in inmate trust accounts for the purpose of paying court-ordered judgments.
   During that conversation, it became clear to undersigned counsel that the reporter
   obtained confidential information from the BOP concerning the balance of funds in Mr.
   Kelly’s trust account.1 The information was published in a Washington Post article that
   same day. Within hours of publication, the BOP confiscated all funds, excepting $500,
   from Mr. Kelly’s trust account without a court order, without notice, without filing a lien
   on the property, without filing a notice of default, and without providing a receipt to Mr.
   Kelly. The government now concedes that it directed the BOP to seize over $27,000 of
   Mr. Kelly’s property absent the statutory authority to do so and absent any order from
   this Court. Only after undersigned counsel sent an email to the AUSAs about this
   unlawful garnishment of funds did the office bother to file a motion with this Court
   seeking leave to restrain funds; funds that it already confiscated. This Court should order
   the immediate return of Mr. Kelly’s funds and further sanction the office of the United
   States Attorney and the Bureau of Prison for seizing funds without lawful authority.

   1 Mr. Kelly has been the repeated victim of BOP criminality. While Defendant was detained in the Chicago
   MCC prior to his EDNY prosecution, the Department of Justice Office of the Inspector General (“DOJ-
   OIG”) opened an investigation into potential criminal violations committed by one or more BOP officers,
   including potential crimes of “unlawful disclosure of sensitive government information, bribery, fraud,
   theft, narcotics trafficking, money laundering, ethics violations, and other official misconduct” after it was
   discovered that between July 15, 2019 and January 8, 2020, BOP access logs show that 60 BOP employees
   accessed Defendant’s confidential records. One such BOP employee accessed Defendant’s confidential
   records 153 times – even though that employee was not assigned to the MCC. A preliminary investigation
   revealed that the BOP employee provided/sold that stolen information to a well-known YouTube blogger.
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          Judgment was entered against Mr. Kelly on June 30, 2022. [Dkt. No. 319] This
   Court deferred a restitution finding until after a hearing currently scheduled for
   September 28, 2022. To date, the government has providing entirely deficient evidence
   supporting restitution for any of the identified victims. The Court further entered an
   assessment of $900, a $40,000 JVTA assessment, and a fine of $100,000. This Court
   ordered an immediate payment of $900. The Court did not enter a payment plan, nor did
   Mr. Kelly seek one since restitution has not been decided and restitution payments take
   precedent over court fines. In an unprecedented move, the government asks this Court for
   an order nunc pro tunc allowing it to seize Mr. Kelly’s property “for application to the
   Defendant’s outstanding criminal penalties” absent any showing of default.

            The government cites no authority for the proposition that it may seize Mr.
   Kelly’s property without filing a notice of default or a notice of a lien on the property.
   Furthermore, no authority exists for the contention that the government may seize Mr.
   Kelly’s property for future application toward judgments that have not been entered.
   Indeed, the government fails to cite any authority that allows this Court to enter the Order
   it proposes. Mr. Kelly does not quarrel with the general proposition that a judgment
   imposing a fine may be enforced against all property of the person fined. Even assuming
   the government is correct when it argues that section 3613(c) provides that a judgment
   creates a lien in favor of the United States, it does not follow that the government can
   simply order the BOP to garnish Mr. Kelly’s funds without evidence of default and
   without filing a notice of lien on the property. Indeed, under 18 U.S.C. § 3613(c), the
   government is required to treat the judgment as if it were a liability for a tax assessed
   under the Internal Revenue Code. The government did nothing more than make a phone
   call to the BOP directing the Warden to confiscate his property.2

            The government cites several cases for the proposition that a defendant may be
   ordered to commit substantial funds accumulated in his inmate trust account to unpaid
   restitution. The authority offered by the government is inapplicable here where there has
   been no restitution ordered. Critically, the government concedes that pursuant to section
   3613(c), the payment of restitution takes precedent over other fines and costs. Because a
   restitution order has not yet been entered, the government has restrained Mr. Kelly’s
   funds preemptively. Put differently, the funds currently seized cannot be applied toward

   2Contrary to the suggestion of the government, the BOP Inmate Trust Fund/Deposit Fund Manuel does not
   grant the BOP or the government the authority to encumber funds without proper legal authority or an order
   of Court. Indeed, the BOP clearly violated the manual when it encumbered Mr. Kelly’s funds without any
   Court order.
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   any court costs since the restitution question has not been resolved. Thus, the government
   is simply holding Mr. Kelly’s funds for future use; no statute or case law allows the
   government to do so. While victims may have the right to full and timely restitution, they
   have no right to have the government seize an inmate’s funds prior to the entry of a
   restitution judgment.

           As to Mr. Kelly’s court-ordered fines, the government has not demonstrated that
   Mr. Kelly is in default or that he was provided with notice of default. 18 U.S.C. § 3613A;
   18 U.S.C. § 3572(i). The judgment in this case was entered little more than a month ago
   and specified that only $900 was due immediately. Without any evidence that Mr. Kelly
   has defaulted on payment of a fine that was only entered 35 days ago, the government
   was not permitted to seize Mr. Kelly’s trust funds. In United States v. Hickman, 330 F.
   Supp. 3d 921 (W.D.N.Y. 2018), the government moved the district court to authorize
   payment from the defendant’s trust account in order to satisfy the criminal monetary
   obligation imposed by the judgment against the Defendant. Id. at 922. The district court
   held that because the government has failed to present evidence of default in his payment
   obligations. See also, United States v. Woodard, 2016 U.S. Dist. LEXIS 195118
   (W.D.Mich. June 24, 2016) (denying the government’s motion for an order authorizing
   the BOP to turn-over the defendant’s trust account funds to pay a court-ordered fine
   absent any evidence that the fine is “unpaid” or in “default.”)

          In conclusion, the government acted prematurely and without the legal authority
   when it ordered the BOP to confiscate Mr. Kelly’s trust account finds. It now asks this
   Court to sanction this abuse of governmental power in the absence of any restitution
   order and without any evidence of default in connection with his fine. For the foregoing
   reasons, this Court should deny the government’s motion, order the immediate return of
   Mr. Kelly’s property, and sanction the government and the BOP for its unlawful
   garnishment of Mr. Kelly’s property.

                                                       Respectfully,


                                                       /s/JENNIFER BONJEAN
